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                          In the United States District Court
                        For the Middle District of Pennsylvania
                                Williamsport Division

 LAMARR PIRKLE, THEODORE
 DANNERTH, LAUREN DANKS, and
 CASEY FLYNN,
                            Plaintiffs, Case No.: 4:20-cv-02088-MWB
      v.
 GOVERNOR THOMAS W. WOLF,
 in his official capacity, KATHRYN
 BOOCKVAR, secretary of the Com-
 monwealth of Pennsylvania, in her
 official capacity,
                           Defendants



                                 NOTICE OF DISMISSAL

       Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i), please mark the above-referenced matter dis-

missed without prejudice.



 Dated: November 16, 2020                      /s/ Walter S. Zimolong
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                                             True the Vote, Inc.
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